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                                  DECLARATION OF SID MILLER

   I, Sid Miller, am over the age of 18 and fully competent in all respect s to make this
declaration. Pursuant to 28 U.S.C. § 1746, I declare that:

   1. I make this declaration on the basis of my own personal and professional knowledge.
   2. The Texas Depart ment of Agriculture (the " TOA") is an agency of the St ate of Texas
      responsible for matters related to agriculture and rural community affairs.
   3. Since January 5, 2015 when I took the oath of office in my initial term as a statewide
      elected official, I have served as Commissioner for Agriculture for the State of Texas. My
      duties as Commissioner are to oversee TOA and all its statut ory fu nctions. By virtue of
      my position as Commissioner, I am fami liar with all aspects of TDA's policies and
      practices.
   4. TDA receives grants of federal funding both as a direct recipient and subrecipient. Duri ng
      the previous fiscal year (FY 2023), TDA spent approximately $462 million in federal funds
      on its own activities. Additionally, TDA served as a pass-through for an additional $873
      million, meaning that TDA received approximately $1.3 billion in federal dollars. These
      figures are representative of the amounts of federal spending that TOA receives in a
       typical year.
    5. While TDA does receive funding from the United States Department of Health and
       Human Services ("HHS"), none of the federal funding it receives is disbursed under 29
       U.S.C. Ch. 16 or any federal grant program related to disability.
    6. I have reviewed t he Final Rule promulgat ed by the Secretary of Health and Human
       Services on M ay, 9, 2024, entitled "Nondiscrimination on the Basis of Disability in
       Programs or Activities Receiving Federal Financial Assistance" (the " Final Rule"),
        published on t he online Federal Register at
        https://www.federalregister.gov/documents/2024/05/09/2024-
        09237 /nondiscrimination-on-the-basis-of-disability-in-programs-or-activities-receiving-
                                                                                         1
        federal-financial#footnote-1-p40066. I understand it to communicate HHS s view that
        gender dysphoria is a condition that is eligi bl e to be classified as a disability under
        Section 504 of the Rehabi litation Act . I t herefore understand that the Final Rule- if it is
        upheld as lawful-will require recipients offederal funding to accommodate t he gender
        identity of persons with gender dysphoria who meet t he other criteria for claiming
       federal disability.
    7. The Final Rule conflicts with TDA's Dress Code and Grooming Policy. This policy is
       attached to t his Declaration as Exhibit A.
    8. TDA has an agencywide dress code that has been in place since April 2023. TDA's dress
       code sets professional sta ndards for workplace attire t hat differ according to employee
       sex, and accordi ngly it specifies that "[e]mployees are expected to comply with this



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       dress code in a manner consistent with their biological gender." TOA intends this
       requirement be understood as referring to an employee's objective, biological sex rather
       than to subjective gender identity.
   9. As an example of TDA's sex-differentiated standard, the policy considers a dress to be
       appropriate office wear for female employees but not for male employees.
   10. TDA occupies and uses offices across Texas at facilities that are owned or leased by TOA,
       other organs of the State, or private entities. TOA complies with the Texas Facilities
       Commission's Tenant Manual ("Manual") at all its properties. Under the Manual, TDA
       makes either sex-segregated or unisex single-occupancy bathrooms available to its
       employees. TOA would not allow any employee to use restrooms designated for the
       opposite sex.
   11. Under the Final Rule, to avoid loss of federal funding and other consequences, TOA will
       need to rescind its current sex-differentiated dress code and grooming standards and
       devote significant time and resources to updating its policies and training programs.
   12. Likewise, TDA will need to permit gender dysphoric employees claiming disability to use
       restrooms reserved for the opposite sex in contravention of its current policy.



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Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and

correct. Executed on thisl ifav of September 2024.




                                                              Sid Miller

                                                              Texas Agriculture Commissioner




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